                                                              United States Bankruptcy Court
                                                                Northern District of Ohio
In re:                                                                                                                 Case No. 22-50323-amk
Larry Steffee                                                                                                          Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0647-5                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: May 19, 2022                                               Form ID: 177a                                                             Total Noticed: 16
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 21, 2022:
Recip ID                 Recipient Name and Address
db                     + Larry Steffee, 50 Wilpark Dr, Akron, OH 44312-3582
27187760               + Cerulean, PO Box 6812, Carol Stream, IL 60197-6812
27187763                 FirstCredit Inc, PO Box 630838, Cincinnati, OH 45263-0838
27187767                 Mercury Card Services, PO Box 84064, Philadelphia, PA 19176
27187768                 Northstar Location Svs LLC, ATTN Financial Svcs Dept, 4285 Genesee St, Buffalo, NY 14225-1943
27187769               + Summa Health, PO Box 3540, Akron, OH 44309-3540

TOTAL: 6

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustpregion09.cl.ecf@usdoj.gov
                                                                                        May 19 2022 20:38:00      Cynthia J. Thayer, US Department of Justice, 201
                                                                                                                  Superior Avenue, Suite 441, Cleveland, OH
                                                                                                                  44114-1234
cr                     + EDI: AISACG.COM
                                                                                        May 20 2022 00:38:00      Ally Bank, c/o AIS Portfolio Services, LP, 4515 N
                                                                                                                  Santa Fe Ave. Dept. APS, Oklahoma City, OK
                                                                                                                  73118-7901
27187756               + EDI: GMACFS.COM
                                                                                        May 20 2022 00:38:00      Ally Financial, PO Box 380901, Minneapolis, MN
                                                                                                                  55438-0901
27187757               + Email/PDF: MarletteBKNotifications@resurgent.com
                                                                                        May 19 2022 20:45:34      Best Egg, PO Box 42912, Philadelphia, PA
                                                                                                                  19101-2912
27187759               + Email/Text: BNBLAZE@capitalsvcs.com
                                                                                        May 19 2022 20:38:00      Blaze MasterCard, PO Box 2534, Omaha, NE
                                                                                                                  68103-2534
27187761               + Email/Text: gtercero@crossriver.com
                                                                                        May 19 2022 20:38:00      Cross River Bank, 400 Kelby St, Fort Lee, NJ
                                                                                                                  07024-2943
27187762               + Email/Text: data_processing@fin-rec.com
                                                                                        May 19 2022 20:38:00      Financial Recovery Services, PO Box 385908,
                                                                                                                  Minneapolis, MN 55438-5908
27187765               + EDI: PHINGENESIS
                                                                                        May 20 2022 00:38:00      Genesis FS Card Svcs, PO Box 4477, Beaverton,
                                                                                                                  OR 97076-4401
27187766               + Email/PDF: resurgentbknotifications@resurgent.com
                                                                                        May 19 2022 20:45:39      LVNV Funding, 200 Meeting Street, Ste #206,
                                                                                                                  Greenville, SC 29615-5833
27187768               ^ MEBN
                                                                                        May 19 2022 20:34:28      Northstar Location Svs LLC, ATTN Financial
                                                                                                                  Svcs Dept, 4285 Genesee St, Buffalo, NY
                                                                                                                  14225-1943
27189086               + EDI: RECOVERYCORP.COM
                                                                                        May 20 2022 00:38:00      PRA Receivables Management, LLC, PO Box
                                                                                                                  41021, Norfolk, VA 23541-1021

TOTAL: 11




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District/off: 0647-5                                               User: admin                                                            Page 2 of 2
Date Rcvd: May 19, 2022                                            Form ID: 177a                                                        Total Noticed: 16

                                                     BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID           Bypass Reason   Name and Address
cr                 *+              PRA Receivables Management, LLC, PO Box 41021, Norfolk, VA 23541-1021
27187758           *+              Best Egg, PO Box 42912, Philadelphia, PA 19101-2912
27187764           *               FirstCredit Inc, PO Box 630838, Cincinnati, OH 45263-0838
27187770           *+              Summa Health, PO Box 3540, Akron, OH 44309-3540
27187771           *+              Summa Health, PO Box 3540, Akron, OH 44309-3540
27187772           *+              Summa Health, PO Box 3540, Akron, OH 44309-3540
27187773           *+              Summa Health, PO Box 3540, Akron, OH 44309-3540
27187774           *+              Summa Health, PO Box 3540, Akron, OH 44309-3540
27187775           *+              Summa Health, PO Box 3540, Akron, OH 44309-3540
27187776           *+              Summa Health, PO Box 3540, Akron, OH 44309-3540

TOTAL: 0 Undeliverable, 10 Duplicate, 0 Out of date forwarding address


                                                    NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 21, 2022                                         Signature:          /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 19, 2022 at the address(es) listed below:
Name                               Email Address
Harold A. Corzin
                                   hcorzin@corzinlaw.com ccorzin@aol.com;oh32@ecfcbis.com

Rebecca J. Sremack
                                   on behalf of Debtor Larry Steffee rebecca@sremacklaw.com


TOTAL: 2




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                                          Northern District Of Ohio
                                    455 John F. Seiberling Federal Building
                                                US Courthouse
                                             2 South Main Street
                                              Akron, OH 44308
                                               Case No. 22−50323−amk

In re: (Name of Debtor)
   Larry Steffee
   50 Wilpark Dr
   Akron, OH 44312
Social Security No.:
   xxx−xx−5267




                                NOTICE OF NEED TO FILE PROOF OF CLAIM
                                     DUE TO RECOVERY OF ASSETS

To the Creditors and Parties in Interest:

The initial notice in this case instructed creditors not to file a proof of claim. Assets have since been recovered by the
trustee and creditors who wish to share in distribution of funds must file a proof of claim with the clerk at:

                                        455 John F. Seiberling Federal Building
                                                    US Courthouse
                                                 2 South Main Street
                                                  Akron, OH 44308

                                       Last date to file claims: August 26, 2022

Creditors who do not file a proof of claim on or before the last date to file claims will not share in distribution. A
Proof of Claim is a signed statement describing a creditor's claim. Effective February 1, 2019, the Electronic Proof of
Claim (ePOC) filing program is available on the court's website for all users to file a Proof of Claim, Amended Proof
of Claim, Withdrawal of Claim, and Supplement to a Claim. A login/password is not required to use ePOC. Parties
not represented by an attorney and registered CM/ECF filers may use this service. Access and instructions for ePOC
filing are available in the ECF and Case Info section of the court website at www.ohnb.uscourts.gov. Parties who
would like to file a Proof of Claim manually may obtain a Proof of Claim form (Official Form B410) from the Forms
page of the United States Court's website at www.uscourts.gov, or at any bankruptcy clerk's office.

If you wish to receive proof of receipt by the bankruptcy court, enclose a photocopy of the proof of claim with
                a stamped, self−addressed envelope. There is no fee for filing the proof of claim.

           Any creditor who has previously filed a proof of claim need not file another proof of claim.



Dated: May 19, 2022                                                                 For the Court
Form ohnb177                                                                     Josiah C. Sell, Clerk




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